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ELINOR COLBOURN, Senior Courisel for Wildlife Programs
Environmental Crimes Section
Environment and Natural Resources Division
U.S. Department of Justice
601 D St., NW, Suite 2300
Washington, DC 20004

                      IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, CENTRAL DIVISION


  UNITED STATES OF AMERICA;                    Case No.

        Plaintiff,                             MISDEMEANOR INFORMATIQN

        vs.                                    COUNTS I-II:
                                               16 U.S.C. §§ 1538(c), (g), 1540(b)(l)
  YOUNG LIVING ESSENTIAL OILS, L.C.            (engaging in trade contrary to the Convention
                                               on International Trade in Endangered
                                               Species);
        Defendant.                             16 U.S.C. §§ 3372(a)(l), 3372(a)(2)(B),
                                               3372(a)(4) and 3373(d)(2) (trafficking in
                                               illegally sourced plants)

                                               Jud e Dustin B. Pead

      The United States Attorney charges:

                                         COUNT I
                        16 U.S.C. §§ 1538(c) and (g), 1540(b)(l)
                       (Engaging in Trade Contrary to CITES)

      During approximately December 2015, in the Central Division of the District of Utah,

                            YOUNG LIVING ESSENTIAL OILS, L.C.

                                                       Case: 2: 17-cr-00541
                                                       Assigned To : Pead, Dustin B.
                                                       Assign. Date : 9/18/2017
                                                       Description: USA v. Young Living
                                                       Essential Oils
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Defendant herein, did knowingly engage in trade in a specimen contrary to the provisions of the

Convention on International Trade in Endangered Species, and cause and solicit another to do so,

in that defendant knowingly exported and caused and solicited another to export, spikenard

{Spikenard Nardostachys grandiflora or jatamans1) without the required re-export certificate, all

in violation of the Endangered Species Act of 1973, Title 16, United States Code, Sections

1538(c) and (g) and 1540(b)(l).


                                            COUNT II
                 16 U.S.C. §§ 3372(a)(2)(B), 3372(a)(4), and 3373(d)(2)
          (Trafficking in Illegally Sourced Plants - Underlying Foreign Law)

       Between approximately June 20 I 0 and October 2014, in the Central Division of the District

of Utah and elsewhere,

                               YOUNG LIVING ESSENTIAL OILS, L.C.

Defendant herein, did knowingly acquire, purchase, import, transport and receive, and attempt to

acquire, purchase, import, transport and receive said plants in interstate and foreign commerce,

when in the exercise of due care Defendant should have known that said plants were taken and

transported in violation of and in a manner unlawful under foreign laws, and the plants were in

fact taken and transported in violation of the laws and ~egulations of Peru that protect plants, that

regulate the taking of plants without, or contrary to, required authorization, and that govern the

export or transshipment of plants, specifically, Supreme Decree No. 014-2001-AG, Article 363,

as amended by 005-2003-AG, Article 2, all in violation of Title 16, United States Code, Sections

3372(a)(2)(B), 3372(a)(4) and 3373(d)(2).




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                             JOHNW.HUBER
                             United States Attorney




                              ELINOR COLBOURN
                              Senior Counsel for Wildlife Programs




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